       Case 1:00-cr-00100-ELH          Document 347        Filed 08/12/14      Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                         *
                                                 *
                                                 *           Criminal No. AMD-00-0100
           v.                                    *           Civil No. – JFM-14-1817
                                                 *
THOMAS E. CARTER                                 *
                                              ******

                                       MEMORANDUM


       Thomas E. Carter has filed a “Motion To Have Heart New Substantive Rule Per The

Court’s Discretion.” The motion is denied.

       Carter asserts that he was improperly sentenced under the murder cross-reference of

Sentencing Guideline 2D1.1(d)(1). This issue was considered by the Fourth Circuit on direct

appeal. To the extent that Alleyne v. United States, 133 S. Ct. 2151 (2013) applies retroactively

to motions for collateral review, it does not apply because Carter was convicted of possessing

with the intent to distribute 50 grams or more of crack cocaine and, at the time of his conviction,

the statutory maximum was life imprisonment. 21 U.S.C. § 841(b)(1)(A). Therefore, Alleyne is

not applicable.




Date: August 12, 2014                  ___/s/__________________
                                      J. Frederick Motz
                                      United States District Judge




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